                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )           NO. 3:13-00097
                                                )           JUDGE SHARP
THOMAS ROBERTS [20]                             )


                                             ORDER

       The Defendant, Thomas Roberts, shall appear before the Court on Tuesday, September 23,

2014, at 1:30 p.m. to show cause why his pretrial release should not be revoked for his failure

to abide by the conditions of supervision.

       IT IS SO ORDERED.


                                             KEVIN H. SHARP
                                             UNITED STATES DISTRICT JUDGE




 Case 3:13-cr-00097        Document 631       Filed 08/25/14      Page 1 of 1 PageID #: 1705
